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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION




UNITED STATES OF AMERICA

v.                                        Case No. 3:07-cr-90-J-33HTS

DONALD E. TOUCHET
RICHARD E. STANDRIDGE
ROBERT J. JENNINGS, and
JOSHUA A. POOLE
  a/k/a Josh Poole
___________________________

                                O R D E R

     The trial of this case having been continued and the status

hearing scheduled for August 16, 2007, see Order (Doc. #86), it is

hereby ORDERED:

     1.      Defendants    having   adopted   the   New   Standing    Order

Pertaining to Motions (Docs. ## 55, 60, 71, 81), see Notice of

Acceptance of General Discovery (Docs. ## 54, 59, 70, 78) and the

government    having    announced   the    availability    of   voluminous

discovery, the Court does not anticipate the extensive filing of

discovery motions.       Nevertheless, any such motions that need be

submitted shall be filed on or before June 21, 2007.
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     2.   The deadline for filing motions prompted by a review of

the discovery materials, e.g., motions to dismiss, sever, or

suppress, is hereby reset to July 31, 2007.

     DONE AND ORDERED at Jacksonville, Florida, this 7th day of

June, 2007.

                                   /s/     Howard T. Snyder
                                   HOWARD T. SNYDER
                                   UNITED STATES MAGISTRATE JUDGE


Copies to:

Counsel of record




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